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                                           2013



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

 JANE DOES 1-4,                                    )
                                                   )
                             Plaintiff,            )
                                                   )
                        v.                         )      No. 1:23-cv-01302-JRS-MKK
                                                   )
 BUTLER UNIVERSITY,                                )
 MICHAEL HOWELL, and                               )
 RALPH REIFF,                                      )
                                                   )
                             Defendants.           )

                                           ORDER

       This matter is before the Court on the Parties' Joint Motion for Status

 Conference. Dkt. [177]. Having considered the matter fully, the Court GRANTS the

 Motion. This matter is set for a telephonic status conference on March 13, 2025, at

 3:30 p.m. (Eastern). Counsel shall attend the status conference by calling the

 designated telephone number, to be provided by the Court via email generated by

 the Court's ECF system.

       So ORDERED.

       Date: 3/6/2025




 Distribution:


 All counsel of record via ECF
